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                   Sampim Sight Line Analysis
                        Human Factors Report



               Prepared by:                    Steven R. Arndt, Ph.D., CHFP
               Prepared for:                   Nicholas Infusino
               Project Number:                 32-5575
               Project Name:                   Sampim Sight Line Analysis
               Case No:                        20 PB 2977
               Date:                           January 6, 2021




                                   EXHIBIT V
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   Information Reviewed
   Explico Engineering (Explico) was retained to analyze the available facts and
   circumstances pertaining to the above-captioned matter that involved the eye witness
   accounts provided by Police Officer Saharat Sampim regarding an officer involved
   shooting that occurred at 2842 West Polk Street in Chicago, on August 24, 2014.
   The following materials have been received, reviewed, and considered:
          1. CR 1088307 (entire investigative file);
          2. Depositions of Police Officers Andrew Neberieza, Joshua Zapata, and Patrick
             Staunton; Sergeant Nicola Zodo; civilians Lonzo Williams, Loren Marks,
             Curtis Washing- ton, and Louis Nettles; and Dr. Eimad Zakariya, taken in the
             matter of Estate of Roshad McIntosh v. City of Chicago, et al., Case No. 15 CV
             01920 (N.D. Ill. filed Mar. 4, 2015);
          3. Independent Police Review Authority (“IPRA”) statements of Police Officers
             Andrew Neberieza, Joshua Zapata, Patrick Staunton, and Patrick Kelly;
             Sergeant Nicola Zodo; and civilians Henry Webster, Louis Nettles, and Loren
             Marks taken during the investigation of CR 1071166;
          4. August 25, 2014, Written Statement of Jerry Martin, included in the
             investigative file for CR 1071166;
          5. Chicago Police Department, Case Supplementary Report for RD HX402265
             (Jan. 14, 2015), included in the investigative file for CR 1071166;
          6. Google Street View images of 2842 West Polk Street, Chicago, Illinois, included
             in the investigative file for CR 1071166;
          7. IPRA Diagram of 2842 West Polk Street, Chicago, Illinois, included in the
             investigative file for CR 1071166;
          8. Written declarations of civilians Loren Marks, Louis Nettles, and Lonzo
             Williams, included in the investigative file for CR 1071166;
          9. Civilian Office of Police Accountability, Memo from AnnMarie Kurylowicz,
             Evidence Specialist, to Chief Administrator, Regarding Photographs and
             Measurements Taken at 2842 West Polk Street, Chicago, Illinois on
             December 3, 2017, included in the investigative file for CR 1071166;
          10. Cook County Medical Examiner Report of Postmortem Examination,
              Toxicology Report, Diagram, Medical Examiner Notes, Case Report,
              Identification Certification, Release Record, and Photographs of Roshad
              McIntosh, Case Number ME2014-00202, included in the investigative file for
              CR 1071166; and
          11. Chicago Police Department Evidence Technician Video Recording of 2842
              West Polk Street, Chicago, Illinois (Aug. 24-25, 2014), included in the
              investigative file for CR 1071166.




                                      EXHIBIT4 V
                                                                                RFC-Lane 125472
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 In addition to the above-referenced items, I conducted an inspection of the site on
 December 3, 2020 where I took 425 photographs and captured 29 laser scans.

 Analysis
 Location




 Figure 1. Overall Google Earth image showing incident location.




                                                     5 V
                                                EXHIBIT
                                                                                         RFC-Lane 125473
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 Figure 2. Google Earth Image with general locations of items of interest.


 Surveillance Video

 A post mounted surveillance video camera located at the SE corner of W. Polk St. and S.
 Francisco Ave. captured real time video of the events that developed prior to and after
 the shooting. Officer Sampim is visible in this video. The video also shows a visible
 response from bystanders to what is presumed to be the sounds of gunfire. The timing
 of the responses is consistent with what would be reasonable human behavior to
 gunfire that is not expected. A still image was captured from the video at the time
 immediately prior to the bystander responses and this frame was used in the analysis to
 determine the position of Officer Sampim. This frame is shown in Figure 3.




                                                      6 V
                                                 EXHIBIT
                                                                                                   RFC-Lane 125474
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  Figure 3. Still frame from surveillance camera footage (7:10:25.836 PM 8/24/2014) with lens distortion removed.

  Inspection

  I conducted an inspection of the site on December 3, 2020 where I took 425
  photographs and captured 29 laser scans using a Faro 3D scanner.




  Figure 4. Faro Focus M 3D Laser scanning tool used to document the scene geometry.




                                               EXHIBIT7 V
                                                                                                     RFC-Lane 125475
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 The scans were taken at locations including but not limited to, the back yard, the first
 floor porch, the second floor porch, the adjacent vacant lot, the sidewalk in front of the
 house, the front porch of the house, and along W. Polk St. to the west of the house.
 Figure 5 shows the Faro scanner placed at one scan location.




 Figure 5. Example location of one 3D laser scan location.




                                                      8 V
                                                 EXHIBIT
                                                                                   RFC-Lane 125476
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 Model Development

 During my inspection, the geometry of the incident site was captured with a laser
 scanner. The laser scanner produced a point cloud of colored points in space. Samples
 of this point cloud data are shown in Figure 6 and Figure 7. The point cloud was used in
 3D modeling software to produce a 3D model of the environment. Other reference
 material used in the creation of the model included Google Earth images, inspection
 photographs, and supplied media from the day of the incident. The post-incident
 evidence was placed according to the measurements taken during the investigation.
 Where the site had been changed from the time of the incident to the time of my
 inspection, the model was corrected to match the photographic documentation on the
 day of the incident.




 Figure 6. Front oblique view of site showing combined laser scan point cloud data.




                                                      9 V
                                                 EXHIBIT
                                                                                               RFC-Lane 125477
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 Figure 7. Rear oblique view of site showing combined laser scan point cloud data.

 Officer Sampim’s position at the time shots were fired was determined using camera
 matching photogrammetry. I utilized the point cloud data to place a virtual camera
 matching the location and view of the surveillance camera. As part of the solution, the
 lens distortion was corrected for in the surveillance video. A character with the same
 height as Officer Sampim (71") and approximate weight (290 lbs.) was created and
 positioned in the environment from the virtual camera view with the distortion corrected
 image overlaid. Figure 8 shows an overlay of the model with the surveillance camera
 still frame. Figure 9 shows only the modeled surveillance camera view and the location
 of Officer Sampim.




                                                     10 V
                                                 EXHIBIT
                                                                                              RFC-Lane 125478
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 Figure 8. Model with semi-transparent overlay of surveillance video frame showing matching locations for Officer
 Sampim.




 Figure 9. Simulated surveillance camera view showing only the model.




                                                     11 V
                                                 EXHIBIT
                                                                                                      RFC-Lane 125479
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  Based on the investigation photographs and the scene inspection I conducted, I placed
  objects into the model to represent the locations of Mr. McIntosh and Officer Slechter.
  Additionally, the model shows the locations of the spent shell casings from Officer
  Slechter, bullet holes from Officer Slechter and blood evidence from Mr. McIntosh.
  Figure 10 shows the modeled environment and the positions of Officer Sampim, Officer
  Slechter and Mr. McIntosh. Determining the location of Officer Slechter was not the goal
  of this analysis and he was placed in the model in a general location based on a
  reasonable expectation of travel distance and ejection angle of the spent shell casings.
  The location of Officer Slechter has no material bearing on my opinions.

  Line of Sight Evaluation

  The location of Mr. McIntosh on the porch was based on the location of the bullet strike
  indications, the location of his dropped gun, the blood evidence and the physical
  limitations of the porch and underside of the stairway leading to the second floor porch.
  It should be noted that the current model does not show the additional materials that
  were present on the floor of the porch at the time of the incident, shown in Figure 11,
  Figure 12, and Figure 13.




  Figure 10. Rear oblique view of model showing location of all Officer Sampim, Officer Slechter and Mr. McIntosh.




                                                      12 V
                                                  EXHIBIT
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    Figure 11. Excerpt from COPA CR 1088307, Forensic Analysis Report. (COPA – 000763)




    Figure 12. Excerpt from COPA CR 1088307, Forensic Analysis Report. (COPA – 000764)




                                             EXHIBIT13
                                                     V
                                                                                          RFC-Lane 125481
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   Figure 13. Photograph of porch showing materials present on porch. (COPA - 000516)

   In the model, the figure representing Mr. McIntosh is crouched so that he could be
   positioned closer to the railing and underneath the stairway to the second level. This
   position is the most favorable location for the line of sight from Officer Sampim to Mr.
   McIntosh and still be consistent with the likely bullet trajectories. If Mr. McIntosh were
   standing upright he would have to be positioned farther away from the railing and closer
   to the building. This position would make him harder to see from Officer Sampim’s
   position. The model allows for the movement of all individuals within the virtual world. A
   virtual camera placed at the location of Officer Sampim allows for the scientific
   evaluation of the line of site for Officer Sampim towards Mr. McIntosh at the time the
   shots were fired. Various locations for Mr. McIntosh were selected and the sight line
   from Officer Sampim to Mr. McIntosh was evaluated.
   Figure 14 and Figure 15 show the position of Mr. McIntosh aligned with the bullet
   damage and at a position free from objects on the porch based on the evidence
   photographs. Figure 14 also shows the position of Officer Sampim based on the
   surveillance camera footage.




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                                               EXHIBIT
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 Figure 14. View from rear of house showing the position of Officer Sampim determined by the surveillance camera,
 and the location of Mr. McIntosh aligned with bullet damage, positioned in available space on porch.




 Figure 15. View from side of house showing location 1 of Mr. McIntosh aligned with bullet damage, positioned in
 available space on porch.




                                                     15 V
                                                 EXHIBIT
                                                                                                      RFC-Lane 125483
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 Figure 16. Officer Sampim’s view to rear of house with Mr. McIntosh at position 1, showing no view of Mr.
 McIntosh.

 Figure 16 is a first person view, or what Officer Sampim could see from his position as
 determined by the surveillance video. Figure 16 shows that Officer Sampim could not
 see Mr. McIntosh when Mr. McIntosh is positioned as shown in Figure 14 and Figure 15.




                                                     16 V
                                                 EXHIBIT
                                                                                                       RFC-Lane 125484
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 Figure 17 shows a second location for Mr. McIntosh positioned closer to the rear railing
 of the porch. This location is still in line with the bullet damage but was likely obstructed
 by objects on the porch.




 Figure 17. View from side of house showing location 2 of Mr. McIntosh aligned with bullet damage and adjacent to
 rear porch railing.




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                                                EXHIBIT
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 Figure 18. Officer Sampim’s view to rear of house with Mr. McIntosh at position 2, showing no view of Mr.
 McIntosh.

 Figure 18 shows the first person view from Officer Sampim, showing that he would not
 be able to see Mr. McIntosh at the second position as shown in Figure 17.
 Figure 19 and Figure 20 show a third location for Mr. McIntosh. In this location, Mr.
 McIntosh has been moved towards the vacant lot, approximately half way between the
 documented bullet damage and the side railing of the porch. Mr. McIntosh has been left
 in a position close to the rear railing on the porch. This hypothetical position is
 inconsistent with the documented physical evidence and is presented for illustrative
 purposes only.




                                                     18 V
                                                 EXHIBIT
                                                                                                       RFC-Lane 125486
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 Figure 19. View from rear of house showing hypothetical location 3 of Mr. McIntosh that is not consistent with
 physical evidence.




 Figure 20. View from side of house showing hypothetical location 3 of Mr. McIntosh that is not consistent with
 physical evidence.




                                                     19 V
                                                 EXHIBIT
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 Figure 21 Officer Sampim’s view to rear of house with Mr. McIntosh at hypothetical location 3 that is not consistent
 with physical evidence still showing no view of Mr. McIntosh.

 Figure 21 shows the first person view from Officer Sampim, showing that even with Mr.
 McIntosh in the highly unlikely position shown in Figure 19 and Figure 20, Officer
 Sampim would still have no view to Mr. McIntosh due to the obstruction created by the
 building.




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                                                  EXHIBIT
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   Conclusions and Opinions
   Based on the above investigation and analysis, to a reasonable degree of scientific
   certainty, the following conclusions have been reached:
      1. The position of Officer Sampim can be, and was determined to a reasonable
         degree of scientific certainty through the use of the surveillance video, my
         inspection and analysis methods described in the report.
      2. Mr. McIntosh’s position was constrained by the physical geometry of the porch
         and building.
      3. Aligning the physical evidence of the bullet defects and other documented
         evidence with the physical geometry of the structure and porch further limits the
         likely position of Mr. McIntosh.
      4. Officer Sampim’s view of Mr. McIntosh was blocked by the brick exterior structure
         of 2842 W Polk St. There is no reasonably scientifically valid locations of Mr.
         McIntosh and Officer Sampim that would be consistent with the physical evidence
         and physical geometry of the location that would allow for Officer Sampim to have
         witnessed the actions of Mr. McIntosh at the time the shots were fired.
   The findings, analysis, and opinions expressed in this summary report are based on
   information currently available, and they may be supplemented if further data becomes
   available.


   Respectfully Submitted:




   Steven R. Arndt, Ph.D., CHFP
   Principal




                                           21V
                                     EXHIBIT
                                                                              RFC-Lane 125489
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  Factors Specialization, 1996
  MSIE, Industrial Engineering - Human
  Factors Specialization, 1991              PROFESSIONAL PROFILE
  BS, Psychology, 1988                      Dr. Arndt is a human factors scientist. Human factors is
LICENSE & CERTIFICATIONS                    the scientiﬁc ﬁeld of research dealing with the capabilities
  Certiﬁcant, Board of Certiﬁcation in      and limitations of people as they interact with systems
  Professional Ergonomics, CHFP             made up of products, tools, technology, information,
  #1644 (2011)                              organizations, environments and other people. He
  OSHA Qualiﬁed Team Leader for             specializes in human perception, human performance, and
  Process Hazard Analysis (PHA)             ergonomics associated with industrial and occupational
  (2013)                                    safety, consumer product design and use, as well as
  OSHA Qualiﬁed Forklift Safety Trainer     pedestrian and driver/operator behaviors and
  OSHA Qualiﬁed Aerial Device Safety        performance. Dr. Arndt is a consultant with substantial
  Trainer                                   experience in the investigation and prevention of accidents
  Qualiﬁed Individual for Fall Protection
                                            and injuries related to consumer products, warning labels,
  USCCA Certiﬁed Firearms Instructor,
  Instructor #1544490
                                            instructions, training, industrial and occupational settings,
  FAA Rated Remote Pilot (SUAS)             and transportation related systems.
  Certiﬁcate #3981669
  PADI Certiﬁed Open Water Scuba             Dr. Arndt also investigates operator behavior, decision-
  Diver                                      making, perceptual capabilities and limitations associated
AFFILIATIONS                                 with vehicle operation, and decision and motor control
                                             response times. Pedestrian and motor vehicle work has
  Human Factors and Ergonomics
  Society                                    included the assessment of visibility and conspicuity of
  American Society of Safety Engineers       objects in low-light and low-visibility environments as well
  Society of Automotive Engineers            as driver distraction.
  (SAE)
  American Society of Testing and           AREAS OF EXPERTISE
  Materials                                    Human Factors and Human Performance
      E30 on Forensic Sciences                 Ergonomics and Safety
      E34 on Occupational Health and           Warnings, Labeling, and Instructions
      Safety                                   Human Factors of Transportation
      E58 on Forensic Engineering              Driver Behaviors, Capabilities, and Limitations
      F13 on Pedestrian/Walkway                Visibility and Conspicuity
      Safety and Footwear                      Industrial and Construction Machinery Operation and Safety
      F15 on Consumer Products                 Consumer Product Design and Safety
      F18 on Electrical Protective
      Equipment for Workers
      F24 on Amusement Rides and
                                            CONTACT INFORMATION
      Devices

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Steven R. Arndt, PhD, CHFP
Human Factors



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DISSERTATION

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